UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 

Case 1:22-cr-20104-JEM Document 107 Entered on FLSD Docket 02/14/2023 Page 1 of 24

 

 

FILED BY_MM.__p.c.
FEB 14 2023

ANGELA E. NOBLE
CLERK U.S. DIST. CT.
S. D. OF FLA. - MIAMI

 

CASE NO. 22-20104-CR-MARTINEZ/BECERRA(s)(s)(s)

18 U.S.C. § 2339A(a)
18 U.S.C. § 956(a)(1)

18 U.S.C. § 371

18 U.S.C. § 554

13 U.S.C. § 305

18 U.S.C. § 981(a)(1)(C)
18 U.S.C. § 981(a)(1)(G)

UNITED STATES OF AMERICA
V.

ARCANGEL PRETEL ORTIZ
a/k/a “Colonel Gabriel,”
ANTONIO INTRIAGO,
a/k/a “The General,”
WALTER VEINTEMILLA,
CHRISTIAN SANON,
a/k/a “Kumbe,”
a/k/a “Pumba,”
a/k/a “Bubba,”
JAMES SOLAGES,
a/k/a “Yacov,”
a/k/a “Junior,”
JOSEPH JOEL JOHN,
JOSEPH VINCENT,
a/k/a “Mr. White,”
a/k/a “Blanco,”
GERMAN ALEJANDRO RIVERA GARCIA,
a/k/a “Colonel Mike,”
RODOLPHE JAAR,
MARIO ANTONIO PALACIOS PALACIOS, and
FREDERICK JOSEPH BERGMANN, Jr.,

Defendants.

 

THIRD SUPERSEDING INDICTMENT

The Grand Jury charges that:

 
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COUNT 1
Conspiracy to Provide Material Support and Resources
to Carry Out a Violation of Section 956(a)(1), Resulting in Death
(18 U.S.C. § 2339A(a))

Beginning in or around February of 2021, and continuing through on or about July 7, 2021,
in the Southern District of Florida and in a place outside the United States, including Haiti and
elsewhere, the defendants,

ARCANGEL PRETEL ORTIZ
a/k/a “Colonel Gabriel,”
ANTONIO INTRIAGO,

a/k/a “The General,”
WALTER VEINTEMILLA,
JAMES SOLAGES,
a/k/a “Yacov,”

a/k/a “Junior,”
JOSEPH JOEL JOHN,
JOSEPH VINCENT,
a/k/a “Mir. White,”
a/k/a “Blanco,”

GERMAN ALEJANDRO RIVERA GARCIA,
a/k/a “Colonel Mike,”
RODOLPHE JAAR, and
MARIO ANTONIO PALACIOS PALACIOS,

did knowingly combine, conspire, confederate, and agree with each other and other persons known
and unknown to the Grand Jury, to provide material support and resources, as defined in Title 18,
United States Code, Section 2339A(b), that is, personnel, including themselves, and services,
knowing and intending that they be used in preparation for, and in carrying out, a violation of Title
18, United States Code, Section 956(a)(1), that is, a conspiracy to kill and kidnap a person outside
of the United States.

On July 7, 2021, the death of the President of Haiti, Jovenel Moise, resulted.

All in violation of Title 18, United States Code, Sections 2339A(a).
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COUNT 2
Providing Material Support and Resources to Carry Out a Violation Resulting in Death
(18 U.S.C. § 2339A(a))

Beginning in or around February of 2021, and continuing through on or about July 7, 2021,
in the Southern District of Florida and in a place outside the United States, including Haiti and

elsewhere, the defendants,

ARCANGEL PRETEL ORTIZ
a/k/a “Colonel Gabriel,”
ANTONIO INTRIAGO,

a/k/a “The General,”
WALTER VEINTEMILLA,
JAMES SOLAGES,
a/k/a “Yacov,”
a/ka/ “Junior,”
JOSEPH JOEL JOHN,
JOSEPH VINCENT,
a/k/a “Mr. White,”
a/k/a “Blanco,”

GERMAN ALEJANDRO RIVERA GARCIA,
a/k/a “Colonel Mike,”
RODOLPHE JAAR, and
MARIO ANTONIO PALACIOS PALACIOS,

did provide material support and resources, as defined in Title 18, United States Code, Section
2339A(b), that is, personnel, including themselves, and services, knowing and intending that they
be used in preparation for, and in carrying out, a violation of Title 18, United States Code, Section
95 6(a)(1), that is, a conspiracy to kill and kidnap a person outside of the United States.

On July 7, 2021, the death of the President of Haiti, Jovenel Moise, resulted.

All in violation of Title 18, United States Code, Sections 2339A(a) and 2.
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COUNT 3
Conspiracy to Kill and Kidnap a Person Outside the United States
(18 U.S.C. § 956(a)(1))

Beginning in or around February of 2021, and continuing through on or about July 7, 2021,
in the Southern District of Florida and in a place outside the United States, including Haiti and

elsewhere, the defendants,

ARCANGEL PRETEL ORTIZ
a/k/a “Colonel Gabriel,”
ANTONIO INTRIAGO,

a/k/a “The General,”
WALTER VEINTEMILLA,
JAMES SOLAGES,
a/k/a “Yacov,”

a/k/a “Junior,”
JOSEPH JOEL JOHN,
JOSEPH VINCENT,
a/k/a “Mr. White,”
a/k/a “Blanco,”

GERMAN ALEJANDRO RIVERA GARCIA,
a/k/a “Colonel Mike,”
RODOLPHE JAAR, and
MARIO ANTONIO PALACIOS PALACIOS,

did knowingly and intentionally combine, conspire, confederate, and agree with each other and
other persons known and unknown to the Grand Jury, at least one of whom having been within the
jurisdiction of the United States, to commit at a place outside the United States, acts that would
constitute murder and kidnapping if these crimes were committed in the special maritime and
territorial jurisdiction of the United States, that is, the murder and kidnapping of the President of
Haiti, Jovenel Moise, and one or more conspirators did commit one or more acts within the
jurisdiction of the United States, to effect the purpose and object of the conspiracy.

All in violation of Title 18, United States Code, Section 956(a)(1).
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COUNT 4
Conspiracy to Commit Offenses Against the United States
(18 U.S.C. § 371)

Beginning in or around February of 2021, and continuing through on or about June 10,
2021, in the Southern District of Florida and in a place outside the United States, including Haiti
and elsewhere, the defendants,

CHRISTIAN SANON,
a/k/a “Kumbe,”
a/k/a “Pumba,”
a/k/a “Bubba,” and
FREDERICK JOSEPH BERGMANN, Jr.,

did knowingly and willfully combine, conspire, confederate, and agree with each other and with
others known and unknown to the Grand Jury, to commit any offense against the United States,
that is:

(1) fraudulently and knowingly export and send from the United States to Haiti
merchandise, articles, and objects, that is, ballistic vests, contrary to laws and regulations of the
United States, that is, Title 13, United States Code, Section 305 and Title 15, Code of Federal
Regulations, Part 30, and receive, conceal, buy, sell, and facilitate the transportation, concealment,
and sale of such merchandise, articles, and objects, prior to exportation, knowing the same to be
intended for exportation contrary to such laws and regulations of the United States, in violation of
Title 18, United States Code, Section 554; and

(2) knowingly fail to file export information and knowingly submit false and

misleading export information through the Automated Export System in connection with the

export of the ballistic vests, in violation of Title 13, United States Code, Section 305.
 

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OVERT ACTS

In furtherance of the conspiracy and to achieve the objects thereof, the defendants and
others committed and caused to be committed, in the Southern District of Florida and elsewhere,
at least one of the following overt acts, among others:

1. On or about May 17, 2021, CHRISTIAN SANON signed a “Consultant
Agreement” with the Counter Terrorist Unit Federal Academy and Counter Terrorist Unit Security
(collectively “CTU”), two related South Florida-based companies of which ANTONIO
INTRIAGO (elsewhere charged herein) and ARCANGEL PRETEL ORTIZ (elsewhere charged
herein) were principals. Pursuant to the agreement, CTU would provide SANON with, among
other things, ballistic vests for his “private military” forces in Haiti.

2. On or about May 21, 2021, CHRISTIAN SANON and ANTONIO INTRIAGO
transported a small number of the ballistic vests aboard a private flight from Florida to Haiti.

3. On or about June 8, 2021, FREDERICK JOSEPH BERGMANN, Jr. and
ANTONIO INTRIAGO exchanged messages regarding shipping the ballistic vests from Florida
to Haiti, during which INTRIAGO advised BERGMANN that BERGMANN could “send the
vest [sic] as paintball protection vest [sic],” and BERGMANN responded: “I don’t think they’ ll
have a problem having my research company ship x-ray protective vests.”

4, On or about June 8, 2021, FREDERICK JOSEPH BERGMANN, Jr. arranged
for a shipping company in Florida to export the ballistic vests to Haiti. BERGMANN falsely
represented to the shipping company that the goods to be shipped were “medical x-ray vests” with
a total value of approximately $1,000.

5. On or about June 9, 2021, FREDERICK JOSEPH BERGMANN, Jr. signed a

commercial invoice, dated June 10, 2021, for the export of the ballistic vests to Haiti, which falsely
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described the goods being shipped as “medical x-ray vests” with a total value of approximately
$1,000.

6. On or about June 9, 2021, FREDERICK JOSEPH BERGMANN, Jr. signed a
shipper’s letter of instruction, dated June 10, 2021, for the export of the ballistic vests to Haiti,
which falsely described the goods being shipped as “medical x-ray vests.”

7. On or about June 9, 2021, FREDERICK JOSEPH BERGMANN, Jr. sent to
CHRISTIAN SANON the commercial invoice that falsely described the ballistic vests as
“medical x-ray vests.”

8. On or about June 9, 2021, FREDERICK JOSEPH BERGMANN, Jr. sent to

. CHRISTIAN SANON the shipper’s letter of instruction that falsely described the ballistic vests
as “medical x-ray vests.”

9, On or about June 9, 2021, FREDERICK JOSEPH BERGMANN, Jr. sent a
message to CHRISTIAN SANON and ANTONIO INTRIAGO, asking INTRIAGO to deliver the
ballistic vests and copies of the commercial invoice to the shipping company the following
morning.

10. On or about June 9, 2021, FREDERICK JOSEPH BERGMANN, Jr. sent a
message to CHRISTIAN SANON and ANTONIO INTRIAGO, informing SANON that the
shipment would arrive in Haiti the following afternoon and ensuring that SANON would manage
the coordination of the ultimate delivery of the ballistic vests to the Colombian nationals providing
security to SANON.

11. On or about June 9, 2021, CHRISTIAN SANON sent a message to FREDERICK

JOSEPH BERGMANN, Jr. confirming the plans to receive and deliver the ballistic vests in Haiti.
 

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12. On or about June 10, 2021, ANTONIO INTRIAGO delivered the ballistic vests to
the shipping company in Florida.

13. On or about June 10, 2021, CHRISTIAN SANON, FREDERICK JOSEPH
BERGMANN, Jr., and their co-conspirators caused the shipping company to export the ballistic
vests from Florida to Haiti.

14. On or about June 10, 2021, CHRISTIAN SANON provided the shipping
paperwork that falsely described the ballistic vests as “medical x-ray vests” to the individual in
Haiti handling the Haitian customs process.

15. | Onor about June 10, 2021, CHRISTIAN SANON coordinated the delivery of the
ballistic vests to the Colombian nationals in Haiti.

AJJ in violation of Title 18, United States Code, Section 371.

COUNT 5
Smuggling Goods from the United States
(18 U.S.C. § 554)

On or about June 10, 2021, in Miami-Dade County, in the Southern District of Florida,

Haiti and elsewhere, the defendants,
CHRISTIAN SANON,
a/k/a “IKumbe,”
a/k/a “Pumba,”
a/k/a “Bubba,” and
FREDERICK JOSEPH BERGMANN, Jr.,

fraudulently and knowingly exported and sent from the United States to a place outside thereof,
that is, Haiti, any merchandise, articles, and objects, that is, ballistic vests, contrary to laws and
regulations of the United States, that is, Title 13, United States Code, Section 305 and Title 15,

Code of Federal Regulations, Part 30, and received, concealed, bought, sold, and facilitated the

transportation, concealment, and sale of such merchandise, articles, and objects, prior to
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exportation, knowing the same to be intended for exportation, contrary to any law and regulation
of the United States, in violation of Title 18, United States Code, Sections 554 and 2.
COUNT 6
Submitting False or Misleading Export Information
(13 U.S.C. § 305)
On or about June 10, 2021, in Miami-Dade County, in the Southern District of Florida,
Haiti and elsewhere, the defendants,
CHRISTIAN SANON,
a/k/a “Kumbe,”
a/k/a “Pumba,”
a/k/a “Bubba,” and
FREDERICK JOSEPH BERGMANN, Jr.,
knowingly failed to file export information and knowingly submitted false and misleading export
information through the Automated Export System in connection with the export of ballistic vests
from the United States to Haiti, in violation of Title 13, United States Code, Section 305; Title 13,
Code of Federal Regulations, Section 30.71; and Title 18, United States Code, Section 2.
FORFEITURE ALLEGATIONS
1. The allegations of this Third Superseding Indictment are hereby re-alleged and by

this reference fully incorporated herein for the purpose of alleging forfeiture to the United States
of America of certain property in which the defendants, ARCANGEL PRETEL ORTIZ, a/k/a
“Colonel Gabriel,’ ANTONIO INTRIAGO, a/k/a “The General,” WALTER
VEINTEMILLA, CHRISTIAN SANON, a/k/a “Kumbe,” a/k/a “Pumba,” a/k/a “Bubba,”
JAMES SOLAGES, a/k/a “Yacov,” a/k/a “Junior,” JOSEPH JOEL JOHN, JOSEPH
VINCENT, a/k/a “Mr. White,” a/k/a “Blanco,” GERMAN ALEJANDRO RIVERA
GARCIA, a/k/a “Colonel Mike,” RODOLPHE JAAR, MARIO ANTONIO PALACIOS

PALACIOS, and FREDERICK JOSEPH BERGMANN, Jr. have an interest.
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2. Upon conviction of a violation of , or a conspiracy to violate, Title 18, United States
Code, Sections 2339A(a), 554, or 956(a)(1) as alleged in this Third Superseding Indictment, the
defendant shall forfeit to the United States any property, real or personal, which constitutes or is
derived from proceeds traceable to such offense, pursuant to Title 18, United States Code, Section
981(a)(1)(C).

3. Upon conviction of a violation of Title 18, United States Code, Sections 2339A or
956(a)(1) as alleged in this Indictment, the defendant shall forfeit to the United States all assets,
foreign or domestic:

(i) of any individual, entity, or organization engaged in planning or perpetrating any

Federal crime of terrorism (as defined in section 2332b(g)(5)) against the United
States, citizens or residents of the United States, or their property, and all assets,
foreign or domestic, affording any person a source of influence over any such entity
or organization;

(ii) | acquired or maintained by any person with the intent and for the purpose of
supporting, planning, conducting, or concealing any Federal crime of terrorism (as
defined in section 2332b(g)(5)) against the United States, citizens or residents of
the United States, or their property;

(iii) | derived from, involved in, or used or intended to be used to commit any Federal
crime of terrorism (as defined in section 2332b(g)(5)) against the United States,
citizens or residents of the United States, or their property; or

(iv) of any individual, entity, or organization engaged in planning or perpetrating any

act of international terrorism (as defined in section 2331) against any international

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organization (as defined in section 209 of the State Department Basic Authorities

Act of 1956 (22 U.S.C. § 4309(b)) or against any foreign Government,

pursuant to Title 18 United States Code, Section 981(a)(1)(G).

4, Upon conviction of a violation of Title 13, United States Code, Section 305, as

alleged in this Third Superseding Indictment, the defendant shall forfeit to the United States:

(i) any of that person’s interest in, security of, claim against, or property or contractual
rights of any kind in the goods or tangible items that were the subject of the
violation;

(ii) any of that person’s interest in, security of, claim against, or property or contractual
rights of any kind in tangible property that was used in the export or attempt to
export that was the subject of the violation; and

(iii) | any of that person’s property constituting, or derived from, any proceeds obtained
directly or indirectly as a result of the violation,

pursuant to Title 13, United States Code, Section 305(a)(3).

5. The property subject to forfeiture as a result of the alleged offenses includes, but is

not limited to, the following:

(i) Real property located at 3150 Islewood Avenue, Weston, Florida 33332.

6. If any of the property described above, as a result of any act or omission of the
defendant:
(i) cannot be located upon the exercise of due diligence;

(ii) has been transferred or sold to, or deposited with, a third party;
(iii) has been placed beyond the jurisdiction of the court;

(iv) has been substantially diminished in value; or

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(v) has been commingled with other property which cannot be divided without
difficulty,
the United States shall be entitled to the forfeiture of substitute property under the provisions of
Title 21, United States Code, Section 853(p).
All pursuant to Title 18, United States Code, Sections 981(a)(1)(C), 981(a)(1)(G), and/or
Title 13, United States Code, Section 305(a)(3), and the procedures set forth in Title 21, United

States Code, Section 853, as incorporated by Title 28, United States Code, Section 2461(c).

A TRUE BILL

   

FOREPERSON

 

Wn
Kol NZY(LAPOINTE
TED STATES ATTORNEY

 

ANDREA GOIKDBARG
ASSISTANT ED STATES ATTORNEY

a 2A

MONICA K. CASTRO
ASSISTANT UNITED STATES ATTORNEY

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA CASE NO.: 22-20104-CR-JEM(s)(s)(s)

Vv.

 

CERTIFICATE OF TRIAL ATTORNEY*

ARCANGEL PRETEL ORTIZ, et al.,

 

/ Superseding Case Information:
Defendants.

Court Division (select one) New Defendant(s) (Yes or No) Yes
Miami Key West FTP Number of New Defendants _ 8
FTL WPB Total number of New Counts 4

I “ > hereby certify that:

10.
11.
12.
13.

14.

I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
witnesses and the legal complexities of the Indictment/Information attached hereto.

I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

Interpreter: (Yes or No) Yes
List language and/or dialect: Creole (Sanon, Vincent, John) & Spanish (Rivera, Palacios)

 

This case will take 20 days for the parties to try.

Please check appropriate category and type of offense listed below:

(Check only one) (Check only one)
I Oto 5 days Petty

I 6 to 10 days Minor

II [11 to 20 days Misdemeanor
IV E21 to 60 days Felony

V__ E161 days and over

Has this case been previously filed in this District Court? (Yes or No) Yes

If yes, Judge Martinez Case No. 22-20104-CR-MARTINEZ(s)(s)

Has a complaint been filed in this matter? (Yes or No) Yes

If yes, Magistrate Case No. 21mj4265: 22mj2070; 22mj2251; 22mj4161; 23mj2178; 23mj2256; 23mj2257
Does this case relate to a previously filed matter in this District Court? (Yes or No)

If yes, Judge Case No.

Defendant(s) in federal custody as of
Defendant(s) in state custody as of
Rule 20 from the District of

Is this a potential death penalty case? (Yes or No) No

Does this case originate from a matter pending in the Northern Region of the U.S. Attorney’s Office
prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) No

Does this case originate from a matter pending in the Central Region of the U.S. Attorney’s Office
prior to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) No

By: AK

ANDREA GOLDRARG
Assistant UnitedStites Attorney
Court ID No. AS5502556 .

 

 

 

 

 

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: _Arcangel Pretel Ortiz

 

Case No: _ 22-20104-CR-JEM(s\(s)(s)

 

Count #: 1

 

Conspiracy to Provide Material Support or Resources to Carry out a Violation of Section
956(a)(1), Resulting in Death

 

Title 18, United States Code, Section 2339A( a)

 

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

 

Count #: 2

Providing Material Support or Resources to Carry out a Violation of Section 956(a)(1), Resulting
in Death

Title 18, United States Code, Section 2339A(a)

 

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

 

Count #: 3
Conspiracy to Kill or Kidnap a Person Outside the United States

Title 18, United States Code, Section 956(a)(1)

 

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

 

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET
_Defendant's Name: _Antonio Intriago

Case No: _22-20104-CR-JEM(s)(s)\(s)

 

Count #: 1

Conspiracy to Provide Material Support or Resources to Carry out a Violation of Section
956(a)(1), Resulting in Death

Title 18, United States Code, Section 2339A(a)

 

 

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

 

Count #: 2

Providing Material Support or Resources to Carry out a Violation of Section 956(a)(1), Resulting
in Death

 

Title 18, United States Code, Section 2339A(a)

 

 

_ * Max. Term of Imprisonment: Life Imprisonment
* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life
* Max. Fine: $250,000

 

Count #: 3

 

Conspiracy to Kill or Kidnap a Person Outside the United States

Title 18, United States Code, Section 956(a)(1)

 

 

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

 

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET
Defendant's Name: _Walter Veintemilla
Case No: 22-20104-CR-JEM( s)(s)(s)
Count #: 1

Conspiracy to Provide Material Support or Resources to Carry out a Violation of Section
956(a)(1), Resulting in Death

Title 18, United States Code, Section 2339A(a)

 

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

 

Count #: 2

Providing Material Support or Resources to Carry out a Violation of Section 956(a)(1), Resulting
in Death

 

Title 18, United States Code, Section 2339A(a)

 

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

 

Count #: 3 .
Conspiracy to Kill or Kidnap a Person Outside the United States

Title 18, United States Code, Section 956(a)(1)

 

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of buprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

 

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

. PENALTY SHEET
Defendant's Name: Christian Sanon .
Case No: _ 22:20104-CR-IEM(s)(s)(s)_
Count #: 4
Conspiracy to.Commit Offenses Against the United States

Title 18, United States. Code. Section 371 -

 

* Max. Term. of Imprisonment: 5 years

* Mandatory Min. Term: of Imprisonment (if applicable): N/A
* Max. Supervised:Release:.3 years

* Max. Fine: $250:000

 

Count #: 5

 

Smuggling Goods’from:the United States

Title 18, United:States:Code, Section 554

 

* Max. Term of Imprisonment: 10 years

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: 3 years —

* Max. Fine: $250,000

 

Count #: 6

 

Submitting False-or Misleading Export Information

Title 13, United States Code, Section .305

 

 

* Max. Term of Imprisonment: 5 years

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: 3 years

* Max. Fine:'$250,000

 

*Refers onky to:possible.term-of incarceration, supervised release and fines. It does not include
restitution,-special:assessments, parole terms, or forfeitures that may be applicable.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

» PENALTY SHEET
Defendant's Name: _James Solages
Case No: _ 22-20104-CR-JEM(s)(s)(s)
Count #: 1

Conspiracy to:Provide Material Support.or Resources to Carry out a Violation of Section
956(a)(1), Resulting in Death

Title 18.. United States ‘Code, Section’2339A(a)

 

* Max. Termof Imprisonment: LifeImprisonment

* Mandatory: Min..Term-of. Imprisonment (if applicable): N/A
* Max. Supervised:Release: Life

* Max. Fine: $250,000

 

Count #: 2

Providing:Material: Support-or Resources*to’ o-arry out a Violation of Section 956(a)(1), Resulting
in Death

 

 

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Title 18, United ‘StatesiCéde*Section’2339A(a)

 

* Max. Term‘of Imprisonment: Life Imprisonment

* Mandatory Min. Term:of. imprisonment (if applicable): N/A
* Max. Supeivised’Réléase: Life

* Max. Fine::$250,000

 

Count #: 3.

Conspiracy ‘te: Gil: Or. Kidnap a Person Outside. the United States

 

Title 18, United: States Code, Section 956(a)(1)

 

 

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory. Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

 

*Refers only:to, possibleterm:of:incarceration, supervised release and fines. It does not include
restitution, special:assessments, parole terms, or forfeitures that may be applicable.
Case 1:22-cr-20104-JEM Document 107 Entered on FLSD Docket 02/14/2023 Page 19 of 24

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET
Defendant's Name: _Joseph Joel John
Case No: _ 22-20104-CR-JEM(s)(s)(s)
~ Count #: 1

Conspiracy to Provide Material Support or Resources to Carry out a Violation of Section
956(a)(1), Resulting in Death

Title 18, United States Code, Section 2339A(a)

 

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

 

Count #: 2

Providing Material Support or Resources to Carry out a Violation of Section 956(a)(1), Resulting
in Death

 

Title 18, United States Code, Section 2339A(a)

 

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

 

Count #: 3

- Conspiracy to Kill or Kidnap a Person Outside the United States

 

Title 18, United States Code, Section 956(a)(1)

 

 

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

 

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:22-cr-20104-JEM Document 107 Entered on FLSD Docket 02/14/2023 Page 20.of 24

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET
Defendant's Name: _Joseph Vincent
Case No: __22-20104-CR-JEM(s)(s)(s)
, Count #: 1

Conspiracy to Provide Material Support or Resources to Carry out a Violation of Section
956(a)(1), Resulting in Death

Title 18, United States Code, Section 2339A(a)

 

* Max. Term of Imprisonment: Life Imprisonment —

* Mandatory Min. Term of bnprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

 

Count #: 2

Providing Material Support or Resources to Carry out a Violation of Section 956(1)(1), Resulting
in. Death

. Title 18, United States Code, Section 2339A(a)

 

_* Max. Term of lmprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life _

* Max. Fine: $250,000

Count #: 3
Conspiracy to Kill or Kidnap a Person Outside the United States

Title 18, United States Code, Section 956(a)(1)

 

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:22-cr-20104-JEM Document 107 Entered on FLSD Docket 02/14/2023 Page 21 of 24

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET
Defendant's Name: _German Alejandro Rivera Garcia
Case No: _22-20104-CR-JEM(s)(s)(s)
Count #: 1

Conspiracy to Provide Material Support or Resources to Carty out a Violation of Section
956(a)(1), Resulting i in Death

Title 18, United States Code, Section 2339A(a)

 

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

 

Count #: 2

Providing Material Support or Resources to Carry out a Violation of Section 956(a)(1), Resulting
in Death

 

Title 18, United States Code, Section 2339A(a)

 

_ * Max. Term of Imprisonment: Life Imprisonment
* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life
* Max. Fine: $250,000

 

Count #: 3
Conspiracy to Kill or Kidnap a Person Outside the United States

Title 18, United States Code, Section 956(a)(1)

 

 

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

 

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:22-cr-20104-JEM Document 107 Entered on FLSD Docket 02/14/2023 Page 22 of 24

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET
Defendant's Name: _Rodolphe Jaar
Case No: _ 22-20104-CR-JEM(s)(s)(s)
Count #: 1

Conspiracy to Provide Material Support or Resources to Carry out a Violation of Section
— 956(a)(1), Resulting in Death

Title 18, United States Code, Section 2339A(a)

 

** Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

Count #: 2

Providing Material Support or Resources to Carry out a Violation of Section 956(a)(1), Resulting
in Death

Title 18, United States Code, Section 2339A(a)

 

_ * Max. Term of Imprisonment: Life Imprisonment
* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life
* Max. Fine: $250,000

 

Count #: 3
Conspiracy to Kill or Kidnap a Person Outside the United States

Title 18, United States Code, Section 956(a)(1)

 

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

 

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:22-cr-20104-JEM Document 107 Entered on FLSD Docket 02/14/2023 Page 23 of 24

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET
Defendant's Name: _Mario Antonio Palacios Palacios
Case No: _ 22-20104-CR-JEM(s)(s)(s)
Count #: 1

Conspiracy to Provide Material Support or Resources to Carry out a Violation of Section
956(a)(1), Resulting in Death

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Title 18, United States Code, Section 2339A(a)

 

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

Count #: 2

Providing Material Support or Resources to Carry out a Violation of Section 956(a)(1), Resulting
in Death

Title 18, United States Code, Section 2339A(a)

 

* Max. Term of lmprisonment: Life bmprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

 

Count #: 3

Conspiracy to Kill or Kidnap a Person Outside the United States

 

Title 18, United States Code, Section 956(a)(1)

 

 

* Max. Term of Imprisonment: Life Imprisonment -

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Life

* Max. Fine: $250,000

 

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:22-cr-20104-JEM Document 107 Entered on FLSD' Docket 02/14/2023 Page 24 of 24

 SUNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET
Defendant's Name: Frederick Joseph Bergmann, Jr.
Case No: 20-20104- CRIEM(S\SV)
Count #: 4
Conspiracy to ee ‘Against the United States

Title 18, United'States. Code’ Section 371

 

* Max. Term of Imprisonment:5-years © —:

* Mandatory Min.:Term:ofImprisonment (if: applicable): N/A
* Max. Supervised Release::3. years

* Max. Fine: $250,000

 

Count #: 5

 

Smuggling Gooids:fcam the United. States

_ Title 18, United’States:Code. ‘Section 554

ry’

 

* Max. Term of Imprisonment:-40:years

* Mandatory Min. ‘Term of Imprisonment (if, applicable): N/A
* Max. Supervised Release::3:years ue

* Max. Fine: $250,000

 

Count #: 6
Submitting False‘or Misleading Export Information
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Title 13, United:States Code, ‘Section 305 :

 

* Max. Term of Imprisonment: 5 years.

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: 3:years

* Max. Fine: $250,000 .

 

*Refers only to: possible‘term of. ‘incarceration, supervised release and fines. It does not include
restitution; ‘special-assessments, ‘parole terms, or forfeitures that may be applicable.
